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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
                                         1
MD HELICOPTERS, INC., et al.,                                : Case No. 22-10263 (KBO)
                                                             :
                    Debtors.                                 : (Jointly Administered)
                                                             :
------------------------------------------------------------ x



                                 CERTIFICATE OF PUBLICATION

        I, Nathan Chien, do declare and state as follows:

       I am employed by Kroll Restructuring Administration LLC (“Kroll”)2, the claims and
noticing agent for the Debtors in the above-captioned chapter 11 cases.

        This Certificate of Publication includes sworn statements verifying that the Notice of Bid
Procedures, Auction, Hearing and Deadlines Relating to the Sale of Substantially All of the
Assets of the Debtors, as conformed for publication, was published (1) on May 2, 2022, in the
national edition of USA Today as described in the sworn statement attached hereto as Exhibit A;
and (2) on May 3, 2022, in the Arizona Republic as described in the sworn statement attached
hereto as Exhibit B.


Dated: May 9, 2022
                                                                     _/s/ Nathan Chien
                                                                     Nathan Chien




1
  The two Debtors in these cases are MD Helicopters, Inc. and Monterrey Aerospace, LLC, and their address is 4555
E. McDowell Road, Mesa, AZ 85215. The last four digits of MD Helicopters, Inc.’s taxpayer identification number
are 4088. Monterrey Aerospace, LLC has not been assigned a taxpayer identification number as of the date hereof.
2
  On March 29, 2022, Prime Clerk LLC changed its name to Kroll Restructuring Administration LLC.



                                                                                                    SRF 61178
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                      Exhibit A
             Case 22-10263-KBO        Doc 234     Filed 05/09/22    Page 3 of 7




                           VERIFICATION OF PUBLICATION




COMMONWEALTH OF VIRGINIA
COUNTY OF FAIRFAX
_________________________


Being duly sworn, Vanessa Salvo says that she is the principal clerk of USA TODAY, and is
duly authorized by USA TODAY to make this affidavit, and is fully acquainted with the facts
stated herein: on Monday, May 2, 2022, the following legal advertisement –
MD HELICOPTERS, INC was published in the national edition of USA TODAY.




                                                    _________________________________
                                                       Principal Clerk of USA TODAY
                                                                May 2, 2022
                                                                                Case 22-10263-KBO                                                       Doc 234                        Filed 05/09/22                   Page 4 of 7
SPORTS                                                                                                                                                                                                                                        USA TODAY ❚ MONDAY MAY 2, 2022 ❚ 5C



TEAM-BY-TEAM NFL DRAFT PICKS
                  Arizona                        5 (174) Dominique Robinson, lb, Miami                        5 (177) James Mitchell, te, Virgina Tech.                             2 (62) Bryan Cook, s, Cincinnati.            4 (121) Jack Jones, cb, Arizona State.                     San Francisco
 2 (55) Trey McBride, te, Colorado State.       (Ohio).                                                       6 (188) Malcolm Rodriguez, lb, Oklahoma                               3 (103) Leo Chenal, lb, Wisconsin.           4 (127) Pierre Strong, rb, South Dakota      2 (61) Drake Jackson, lb, Southern Cal.
 3 (87) Cameron Thomas, de, San Diego            6 (186) Zach Thomas, g, San Diego State.                    State.                                                                 4 (135) Joshua Williams, cb, Fayetteville   State.                                        3 (93) Tyrion Davis-Price, rb, LSU.
State.                                           6 (203) Trestan Ebner, rb, Baylor.                           6 (217) James Houston, lb, Jackson                                   State.                                        4 (137) Bailey Zappe, qb, Western            3 (105) Danny Gray, wr, SMU.
 3 (100) Myjai Sanders, de, Cincinnati.          6 (207) Doug Kramer, c, Illinois.                           State.                                                                 5 (145) Darian Kinnard, g, Kentucky.        Kentucky.                                     4 (134) Spencer Burford, g, UTSA.
 6 (201) Keaontay Ingram, rb, Southern           7 (226) Ja'Tyre Carter, g, Southern.                         7 (237) Chase Lucas, cb, Arizona State.                               7 (243) Jaylen Watson, cb, Washington        6 (183) Kevin Harris, rb, South Carolina.    5 (172) Samuel Womack, cb, Toledo.
Cal.                                             7 (254) Elijah Hicks, db, California.                                        Green Bay                                            State.                                        6 (200) Sam Roberts, dt, Northwest           6 (187) Nick Zakelj, ot, Fordham.
 6 (215) Lecitus Smith, g, Virginia Tech.        7 (255) Trenton Gill, p, North Carolina                      1 (22) Quay Walker, lb, Georgia.                                      7 (251) Isiah Pacheco, rb, Rutgers.         Missouri State.                               6 (220) Kalia Davis, dt, UCF.
 7 (244) Christian Matthew, db, Valdosta        State.                                                        1 (28) Devonte Wyatt, dt Georgia.                                     7 (259) Nazeeh Johnson, cb, Marshall.        6 (210) Chasen Hines, c, LSU.                6 (221) Tariq Castro-Fields, cb, Penn
State.                                                           Cincinnati                                   2 (34) Christian Watson, wr, North                                                    Las Vegas                    7 (245) Andrew Stueber, ot, Michigan.       State.
 7 (256) Jesse Luketa, lb, Penn State.           1 (31) Daxton Hill, s, Michigan.                            Dakota State.                                                          3 (90) Dylan Parham, g, Memphis.                            New Orleans                   7 (262) Brock Purdy, qb, Iowa State.
 7 (257) Marquis Hayes, g, Oklahoma.             2 (60) Cam Taylor-Britt, cb, Nebraska.                       3 (92) Sean Rhyan, g, UCLA.                                           4 (122) Zamir White, rb, Georgia.            1 (11) Chris Olave, wr, Ohio State.                           Seattle
                  Atlanta                        3 (95) Zachary Carter, de, Florida.                          4 (132) Romeo Doubs, wr, Nevada.                                      4 (126) Neil Farrell Jr., dt, LSU.           1 (19) Trevor Penning, ot, Northern Iowa.    1 (9) Charles Cross, ot, Mississippi State.
 1 (8) Drake London, wr, Southern Cal.           4 (136) Cordell Volson, g, North Dakota                      4 (140) Zach Tom, c, Wake Forest.                                     5 (175) Matthew Butler, dt, Tennessee.       2 (49) Alontae Taylor, cb, Tennessee.        2 (40) Boye Mafe, lb, Minnesota.
 2 (38) Arnold Ebiketie, de, Penn State.        State.                                                        5 (179) Kingsley Enagbare, de, South                                  7 (238) Thayer Munford Jr., ot, Ohio         5 (161) D'Marco Jackson, lb, Appalachian     2 (41) Kenneth Walker III, rb, Michigan
 2 (58) Troy Andersen, lb, Montana State.        5 (166) Tycen Anderson, s, Toledo.                          Carolina.                                                             State.                                       State.                                       State.
 3 (74) Desmond Ridder, qb, Cincinnati.          7 (252) Jeffrey Gunter, de, Coastal                          7 (228) Tariq Carpenter, lb, Georgia Tech.                            7 (250) Brittain Brown, rb, UCLA.            6 (194) Jordan Jackson, dt, Air Force.       3 (72) Abraham Lucas, ot, Washington
 3 (82) DeAngelo Malone, lb, Western            Carolina.                                                     7 (234) Jonathan Ford, dt, Miami.                                                    LA Chargers                                   N.Y. Giants                 State.
Kentucky.                                                        Cleveland                                    7 (249) Rasheed Walker, ot, Penn State.                               1 (17) Zion Johnson, g, Boston College.      1 (5) Kayvon Thibodeaux, de, Oregon.         4 (109) Coby Bryant, cb, Cincinnati.
 5 (151) Tyler Allgeier, rb, BYU.                3 (68) Martin Emerson, cb, Mississippi                       7 (258) Samori Toure, wr, Nebraska.                                   3 (79) JT Woods, s, Baylor.                  1 (7) Evan Neal, ot, Alabama.                5 (153) Tariq Woolen, cb, UTSA.
 6 (190) Justin Shaffer, g, Georgia.            State.                                                                         Houston                                              4 (123) Isaiah Spiller, rb, Texas A&M.       2 (43) Wan'Dale Robinson, wr, Kentucky.      5 (158) Tyreke Smith, de, Ohio State.
 6 (213) John FitzPatrick, te, Georgia.          3 (78) Alex Wright, de, UAB.                                 1 (3) Derek Stingley Jr., db, LSU.                                    5 (160) Otito Ogbonnia, dt, UCLA.            3 (67) Joshua Ezeudu, g, North Carolina.     7 (229) Bo Melton, wr, Rutgers.
                 Baltimore                       3 (99) David Bell, wr, Purdue.                               1 (15) Kenyon Green, g, Texas A&M.                                    6 (195) Jamaree Salyer, g, Georgia.          3 (81) Cordale Flott, cb, LSU.               7 (233) Dareke Young, wr, Lenoir Rhyne.
 1 (14) Kyle Hamilton, s, Notre Dame.            4 (108) Perrion Winfrey, dt, Oklahoma.                       2 (37) Jalen Pitre, s, Baylor.                                        6 (214) Ja'Sir Taylor, cb, Wake Forest.      4 (112) Daniel Bellinger, te, San Diego                     Tampa Bay
 1 (25) Tyler Linderbaum, c, Iowa.               4 (124) Cade York, k, LSU.                                   2 (44) John Metchie III, wr, Alabama.                                 7 (236) Deane Leonard, cb, Mississippi.     State.                                        2 (33) Logan Hall, dt, Houston.
 2 (45) David Ojabo, lb, Michigan.               5 (156) Jerome Ford, rb, Cincinnati.                         3 (75) Christian Harris, lb, Alabama.                                 7 (260) Zander Horvath, rb, Purdue.          4 (114) Dane Belton, s, Iowa.                2 (57) Luke Goedeke, g, Central
 3 (76) Travis Jones, dt, Connecticut.           6 (202) Michael Woods II, wr, Oklahoma.                      4 (107) Dameon Pierce, rb, Florida.                                                    LA Rams                     5 (146) Micah McFadden, lb, Indiana.        Michigan.
 4 (110) Daniel Faalele, ot, Minnesota.          7 (223) Isaiah Thomas, de, Oklahoma.                         5 (150) Thomas Booker, dt, Stanford.                                  3 (104) Logan Bruss, g, Wisconsin.           5 (147) DJ Davidson, dt, Arizona State.      3 (91) Rachaad White, rb, Arizona State.
 4 (119) Jayln Armour-Davis, cb, Alabama.        7 (246) Dawson Deaton, c, Texas Tech.                        5 (170) Teagan Quitoriano, te, Oregon                                 4 (142) Decobie Durant, cb, South            5 (173) Marcus McKethan, g, North            4 (106) Cade Otton, te, Washington.
 4 (128) Charlie Kolar, te, Iowa State.                            Dallas                                    State.                                                                Carolina State.                              Carolina.                                     4 (133) Jake Camarda, p, Georgia.
 4 (130) Jordan Stout, p, Penn State.            1 (24) Tyler Smith, ot, Tulsa.                               6 (205) Austin Deculus, ot, LSU.                                      5 (164) Kyren Williams, rb, Notre Dame.      6 (182) Darrian Beavers, lb, Cincinnati.     5 (157) Zyon McCollum, cb, Sam Houston
 4 (139) Isaiah Likely, te, Coastal Carolina.    2 (56) Sam Williams, de, Mississippi.                                       Indianapolis                                           6 (211) Quentin Lake, s, UCLA.                                N.Y. Jets                  State.
 4 (141) Damarion Williams, cb, Houston.         3 (88) Jalen Tolbert, wr, South Alabama.                     2 (53) Alec Pierce, wr, Cincinnati.                                   6 (212) Derion Kendrick, cb, Georgia.        1 (4) Ahmad Gardner, cb, Cincinnati.         6 (218) Ko Kieft, te, Minnesota.
 6 (196) Tyler Badie, rb, Missouri.              4 (129) Jake Ferguson, te, Wisconsin.                        3 (73) Jelani Woods, te, Virginia.                                    7 (235) Daniel Hardy, de, Montana State.     1 (10) Garrett Wilson, wr, Ohio State.       7 (248) Andre Anthony, lb, LSU.
                  Buffalo                        5 (155) Matt Waletzko, ot, North Dakota.                     3 (77) Bernhard Raimann, ot, Central                                  7 (253) Russ Yeast, s, Kansas State.         1 (26) Jermaine Johnson II, de, Florida                     Tennessee
 1 (23) Kaiir Elam, cb, Florida.                 5 (167) DaRon Bland, cb, Fresno State.                      Michigan.                                                              7 (261) A.J. Arcuri, ot, Michigan State.    State.                                        1 (18) Treylon Burks, wr, Arkansas.
 2 (63) James Cook, rb, Georgia.                 5 (176) Damone Clark, lb, LSU.                               3 (96) Nick Cross, s, Maryland.                                                         Miami                      2 (36) Breece Hall, rb, Iowa State.          2 (35) Roger McCreary, cb, Auburn.
 3 (89) Terrel Bernard, lb, Baylor.              5 (178) John Ridgeway, dt, Arkansas.                         5 (159) Eric Johnson, dt, Missouri State.                             3 (102) Channing Tindall, lb, Georgia.       3 (101) Jeremy Ruckert, te, Ohio State.      3 (69) Nicholas Petit-Frere, ot, Ohio
 5 (148) Khalil Shakir, wr, Boise State.         6 (193) Devin Harper, lb, Oklahoma                           6 (192) Andrew Ogletree, te,                                          4 (125) Erik Ezukanma, wr, Texas Tech.       4 (111) Max Mitchell, ot, Louisiana.        State.
 6 (180) Matt Araiza, P, San Diego State.       State.                                                       Youngstown State.                                                      7 (224) Cameron Goode, lb, California.       4 (117) Micheal Clemons, de, Texas A&M.      3 (86) Malik Willis, qb, Liberty.
 6 (185) Christian Benford, cb, Villanova.                        Denver                                      6 (216) Curtis Brooks, dt, Cincinnati.                                7 (247) Skylar Thompson, qb, Kansas St.                     Philadelphia                  4 (131) Hassan Haskins, rb, Michigan.
 6 (209) Luke Tenuta, ot, Virginia Tech.         2 (64) Nik Bonitto, lb, Oklahoma.                            7 (239) Rodney Thomas, db, Yale.                                                                                   1 (13) Jordan Davis, dt, Georgia.            4 (143) Chigoziem Okonwo, te, Maryland.
                                                                                                                                                                                                    Minnesota
 7 (231) Baylon Spector, lb, Clemson.            3 (80) Greg Dulcich, te, UCLA.                                              Jacksonville                                                                                        2 (51) Cam Jurgens, c, Nebraska.             5 (163) Kyle Philips, wr, UCLA.
                                                                                                                                                                                    1 (32) Lewis Cine, s, Georgia.
                  Carolina                       4 (115) Damarri Mathis, cb, Pittsburgh.                      1 (1) Travon Walker, de, Georgia.                                                                                  3 (83) Nakobe Dean, lb, Georgia.             6 (204) Theo Jackson, cb, Tennessee.
                                                                                                                                                                                    2 (42) Andrew Booth, cb, Clemson.
 1 (6) Ikem Ekwonu, ot, N.C. State.              4 (116) Eyioma Uwazurike, dt, Iowa State.                    1 (27) Devin Lloyd, lb, Utah.                                                                                      6 (181) Kyron Johnson, lb, Kansas.           6 (219) Chance Campbell, lb, Mississippi.
                                                                                                                                                                                    2 (59) Ed Ingram, g, LSU.
 3 (94) Matt Corral, qb, Mississippi.            5 (152) Delarrin Turner-Yell, s, Oklahoma.                   3 (65) Luke Fortner, c, Kentucky.                                     3 (66) Brian Asamoah, lb, Oklahoma.          6 (198) Grant Calcaterra, te, SMU.                          Washington
 4 (120) Brandon Smith, lb, Penn State.          5 (162) Montrell Washington, WR,                             3 (70) Chad Muma, lb, Wyoming.                                        4 (118) Akayleb Evans, cb, Missouri.                         Pittsburgh                   1 (16) Jahan Dotson, wr, Penn State.
 6 (189) Amare Barno, de, Virginia Tech.        Samford.                                                      5 (154) Snoop Conner, rb, Mississippi.                                5 (165) Esezi Otomewo, de, Minnesota.        1 (20) Kenny Pickett, qb, Pittsburgh.        2 (47) Phidarian Mathis, DT, Alabama.
 6 (199) Cade Mays, g, Tennessee.                5 (171) Luke Wattenberg, c, Washington.                      6 (197) Gregory Junior, cb, Ouachita                                  5 (169) Ty Chandler, rb, North Carolina.     2 (52) George Pickens, wr, Georgia.          3 (98) Brian Robinson Jr., rb, Alabama.
 7 (242) Kalon Barnes, cb, Baylor.               6 (206) Matt Henningsen, dt, Wisconsin.                     Baptist.                                                               6 (184) Vederian Lowe, ot, Illinois.         3 (84) DeMarvin Leal, dt, Texas A&M.         4 (113) Percy Butler, s, Louisiana.
                  Chicago                        7 (232) Faion Hicks, cb, Wisconsin.                          7 (222) Montaric Brown, cb, Arkansas.                                 6 (191) Jalen Nailor, wr, Michigan State.    4 (138) Calvin Austin III, wr, Memphis.      5 (144) Sam Howell, qb, North Carolina.
 2 (39) Kyler Gordon, cb, Washington.                             Detroit                                                    Kansas City                                            7 (227) Nick Muse, te, South Carolina.       6 (208) Connor Heyward, te, Michigan         5 (149) Cole Turner, te, Nevada.
 2 (48) Jaquan Brisker, s, Penn State.           1 (2) Aidan Hutchinson, de, Michigan.                        1 (21) Trent McDuffie, cb, Washington.                                                                            State.                                        7 (230) Chris Paul, g, Tulsa.
                                                                                                                                                                                                  New England
 3 (71) Velus Jones, wr, Tennessee.              1 (12) Jameson Williams, wr, Alabama.                        1 (30) George Karlaftis, de, Purdue.                                                                               7 (225) Mark Robinson, lb, Mississippi.      7 (240) Christian Holmes, cb, Oklahoma
                                                                                                                                                                                    1 (29) Cole Strange, g, Chattanooga.
 5 (168) Braxton Jones, ot, Southern Utah        2 (46) Josh Paschal, de, Kentucky.                           2 (54) Skyy Moore, wr, Western                                                                                     7 (241) Chris Oladokun, qb, South Dakota    State.
                                                                                                                                                                                    2 (50) Tyquan Thornton, wr, Baylor.
State.                                           3 (97) Kerby Joseph, s, Illinois.                           Michigan.                                                              3 (85) Marcus Jones, cb, Houston.           State.




NIGHTENGALE’S
NOTEBOOK

A dream
season or                                                              IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE


the end
                                                                   In re: MD HELICOPTERS, INC., et al.,1 ) Chapter 11, Case No. 22-10263 (KBO)
                                                                                                    Debtors.          ) (Jointly Administered)
                                                                    NOTICE OF BID PROCEDURES, AUCTION, HEARING AND DEADLINES RELATING TO
                                                                              THE SALE OF SUBSTANTIALLY ALL OF THE ASSETS OF THE DEBTORS
                                                                       PLEASE TAKE NOTICE that on March 30, 2022, the debtors and debtors in possession (the“Debtors”) in                                             Notice to Consumers
for Cano?                                                         the above-captioned cases (the “Bankruptcy Cases”), ﬁled a Motion of Debtors for Entry of (I) an Order (A)
                                                                  Approving Bid Procedures in Connection with the Sale of Substantially All of the Debtors’ Assets, (B) Scheduling
                                                                  an Auction and Sale Hearing, (C) Approving the Form and Manner of Notice Thereof, (D) Authorizing the Debtors
                                                                  to Enter Into the Stalking Horse Agreement, (E) Approving Procedures for the Assumption and Assignment of
                                                                  Contracts and Leases, and (F) Granting Related Relief; and (II) an Order (A) Approving the Sale of Substantially
                                                                                                                                                                                                           Information maintained by the consumer credit reporting companies
                                                                                                                                                                                                        (Equifax Information Services LLC, Experian Information Solutions, Inc.,
                                                                  All of the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, (B) Authorizing the                          Innovis Data Solutions, Inc., and TransUnion LLC) helps connect
                                                                  Assumption and Assignment of Contracts and Leases, and (C) Granting Related Relief [Docket No.28] (the“Bid
Bob Nightengale USA TODAY                                         Procedures and Sale Motion”).2 The Debtors seek to complete a sale (the“Sale”) of substantially all their                                consumers with their buying power. This information is provided to
                                                                  assets (the“Assets”) to the Stalking Horse Bidder or a prevailing bidder or bidders (the“Successful Bidder”)
                                                                  at an auction free and clear of all liens, claims, encumbrances and other interests pursuant to Section 363 of                             companies that send consumers pre-approved offers of credit and
   Robinson Cano once was                                         the Bankruptcy Code (the“Auction”).
                                                                       PLEASE TAKE FURTHER NOTICE that, on April 26, 2022, the Bankruptcy Court entered an order [Docket                                 insurance. Many people take advantage of these opportunities, yet some
ticketed for the Baseball Hall                                    No.206] (the“Bid Procedures Order”) approving the Bid Procedures set forth in the Bid Procedures and Sale
                                                                  Motion (the“Bid Procedures”),whichsetthe key dates and timesrelated tothe saleofthe Debtors’Assets. All
                                                                                                                                                                                                        consumers prefer not to receive such offerings. Before you choose, look at
of Fame.                                                          interestedbiddersshouldcarefullyreadtheBidProcedures.Totheextentthereareanyinconsistencies                                                            the competitive offers you are receiving.
                                                                  between the Bid Procedures and the summary description of its terms and conditions contained in this notice,
   He was an eight-time All-                                      thetermsoftheBidProceduresshallcontrol.
                                                                       PLEASE TAKE FURTHER NOTICE that,pursuant to the Bid Procedures,the Debtors must receive an Intention
Star, five-time Silver Slugger,                                   to Submit Qualiﬁed Bid from interested bidders in writing on or before May 20,2022 at 4:00 p.m.(prevailing                            For those who no longer wish to receive such offers, the federal Fair Credit
                                                                  EasternTime) or such later date as may be agreed to by the Debtors (the“Intention to Submit Qualiﬁed Bid
two-time Gold Glove winner                                        Deadline”). To be considered,Intention(s) to Submit Qualiﬁed Bid must be sent to the following at or before the
                                                                                                                                                                                                          Reporting Act provides for the opportunity to opt out. Opting-out will
and a World Series champion                                       Intention to Submit Qualiﬁed Bid Deadline: (a) counsel for the Debtors, Latham & Watkins, LLP, Attn: Suzzanne
                                                                  Uhland (suzzanne.uhland@lw.com), Adam S. Ravin (adam.ravin@lw.com), and Brett M. Neve (brett.neve@
                                                                                                                                                                                                         remove you from lists provided by each of the consumer credit reporting
with the New York Yankees.                                        lw.com) and Troutman Pepper Hamilton Sanders LLP, Attn: David B. Stratton (david.stratton@troutman.com),                                companies; but it does not guarantee that you wont receive direct mail
                                                                  David M.Fournier (david.fournier@troutman.com), and Evelyn J.Meltzer (evelyn.meltzer@troutman.com) and
   Then came the perform-                                         (b) investment banker to the Debtors, Moelis & Company LLC, Attn: Azad Badakhsh (azad.badakhsh@moelis.                                                           from other sources.
                                                                  com)andAdamKeil(adam.keil@moelis.com)(the“BidRecipients”).
ance-enhancing drug sus-                                               PLEASE TAKE FURTHER NOTICE that,pursuant to the Bid Procedures,the Debtors must receive a Qualiﬁed
pension in 2018 with the Seat-
                                                                  Bid from interested bidders in writing on or before June 3,2022 at 4:00 p.m.(prevailing Eastern Time) or
                                                                  such later date as may be agreed to by the Debtors (the“Bid Deadline”). To be considered,Qualiﬁed Bids must
                                                                                                                                                                                                           If you wish to be excluded from the lists provided to companies that
tle Mariners, another causing                                     besenttotheBidRecipientsonorbeforetheBidDeadline.                                                                                                  make these pre-approved offers, you may go to
                                                                       PLEASE TAKE FURTHER NOTICE that,pursuant to the terms of the Bid Procedures,if the Debtors receive
him to miss the entire 2021                                       one or more Qualiﬁed Bids (other than the Stalking Horse Agreement) by the Bid Deadline,the Auction will be                                                  www.optoutprescreen.com
                                                                  conducted on June 9,2022 at 10:00 a.m.(prevailing Eastern Time),or at such other place,date and time
season with the New York                                          asmaybedesignatedbytheDebtors.
                                                                       PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Bid Procedures, the Debtors have
                                                                                                                                                                                                                            Or call 1-888-5-OPTOUT (888-567-8688)
Mets, and now he’s back.                                          designated certain Assumed Contracts that may be assumed or assumed and assigned to the Successful
                                                                                                                                                                                                          Or you may write to any one of the following consumer credit reporting
                                                                  Bidder. Within two (2) business days of entry of the Bid Procedures Order, the Debtors shall send a notice to
   For how long?                                                  each counterparty to an Assumed Contract setting forth the Debtors’calculation of the cure amount,if any,that
                                                                                                                                                                                                         companies, and they will share your request with the others. Include your
                                                                  would be owing to such counterparty if the Debtors decided to assume or assume and assign such Assumed
   Cano, who has 2,632 hits                                       Contract,and alerting such non-debtor party that its contract may be assumed and assigned to the Successful                             name, address, Social Security number and date of birth in your request.
                                                                  Bidder(the“AssumptionNotice”).
and would love to become the                                           PLEASE TAKE FURTHER NOTICE that,pursuant to the terms of the Bid Procedures,any counterparty that
next to join the 3,000-hit club,                                  objects to the cure amount set forth in the Assumption Notice or the possible assignment of their Assumed
                                                                  Contract(s) to the Stalking Horse Bidder must ﬁle with the Bankruptcy Court and serve an objection (an
may have run out of time.                                         “Assumed Contract Objection”) so it is actually received on or before 4:00 p.m. prevailing Eastern
                                                                  Time on May 11, 2022 (the “Assumed Contract Objection Deadline”) by the Objection Notice Parties
   The Mets have to make a                                        (as deﬁned in the Bid Procedures Order).If a Contract Counterparty does not timely ﬁle and serve an Assumed
                                                                  Contract Objection,that party will be forever barred from objecting to (a) the Debtors’proposed cure amount,
decision Monday when they                                         or(b)theassignmentofthatparty’sexecutorycontractorunexpiredleasetotheStalkingHorseBidder.
                                                                       PLEASE TAKE FURTHER NOTICE that if a Successful Bidder that is not the Stalking Horse Bidder prevails at
cut their roster from 28 play-                                    the Auction,then the deadline to object (a“Post-Auction Objection”) solely to (a) the identity of a Successful                        Equifax Information Services, LLC                               Experian Opt-Out
                                                                  Bidder or (b) the ability of the Successful Bidder to provide adequate assurance of future performance under
ers to 26, and Cano could be                                      the Assumed Contract shall be June 13,2022 at 4:00 p.m. (prevailing Eastern Time) (the“Post-Auction                                   P.O. Box 740123                                                 P.O. Box 919
on the chopping block.                                            Objection Deadline”),which Post-Auction Objection must be served on the Objection Notice Parties so it is
                                                                  actuallyreceivedbythePost-AuctionObjectionDeadlineandﬁledwiththeBankruptcyCourt. IfaPost-Auction                                      Atlanta, GA 30374-0123                                          Allen, TX 75013
   Cano, 39, doesn’t want to                                      Objection is not ﬁled,parties will be forever barred from objecting to the identity of the Successful Bidder or to
                                                                  theassignmentofthatparty’sexecutorycontractorunexpiredleasetotheSuccessfulBidder.
even think about the possibil-                                         PLEASE TAKE FURTHER NOTICE that where a counterparty to an Assumed Contract timely ﬁles an (a)
                                                                  Assumed Contract Objection asserting a higher cure amount than the amount listed in the Assumption Notice,
ity, instead wanting to focus                                     or (b) Assumed Contract Objection or Post-Auction Objection,as applicable,to the possible assignment of that
                                                                  counterparty’s Assumed Contract,and the parties are unable to consensually resolve the dispute,the amount
his conversation with USA                                         (if any) to be paid under Section 365 of the Bankruptcy Code or,as the case may be,the Debtors’ability to assign
                                                                  the AssumedContracttotheSuccessfulBidderwillbedeterminedattheSaleHearing(asdeﬁnedbelow)orata
TODAY Sports on the present,                                      laterdateasﬁxedbytheBankruptcyCourt.Totheextent anyContractCounterpartyisaddedtotheAssumption
saying how much he loves be-                                      Notice after the initial notice is served,such new Contract Counterparty shall receive notice of the addition and
                                                                  the Debtors’ proposed cure amount through a supplemental Assumption Notice, and that party shall have
ing part of this Mets team.                                       fourteen (14) days from the date of such notice to object to the propose cure amount and assignment to the
                                                                  SuccessfulBidder.
   He cried himself to sleep                                           PLEASE TAKE FURTHER NOTICE that if the Debtors receive one or more Intention(s) to Submit Qualiﬁed
                                                                                                                                                                                                        Innovis Consumer Opt-Out                             TransUnion Opt-Out Request
                                                                  Bid by the Intention to Submit Qualiﬁed Bid Deadline,a hearing will be held to approve the sale of the Assets
some nights this past year,                                       to the Successful Bidder (the“Sale Hearing”) before the Honorable Karen B.Owens,U.S.Bankruptcy Court for                              PO Box 530089                                        P.O. Box 505
                                                                  the District of Delaware, 824 North Market Street,Wilmington, Delaware 19801, 6th Floor, Courtroom #3, on
missing the game so much                                          June 17,2022 at 9:00 a.m.(prevailing Eastern Time),or at such time thereafter as counsel may be heard                                 Atlanta, GA 30353                                    Woodlyn, PA 19094-0505
                                                                  or at such other time as the Bankruptcy Court may determine. If the Debtors do not receive any Intention to
that his heart hurt, realizing                                    Submit Qualiﬁed Bid by the Intention to Submit Qualiﬁed Bid Deadline,the Sale Hearing shall be held on May
how many people he let down.                                      26, 2022 at 9:00 a.m. (prevailing Eastern Time). The Sale Hearing may be adjourned from time to time
                                                                  without further notice to creditors or parties in interest other than by announcement of the adjournment in
   Now, he’s back playing sec-                                    open court on the date scheduled for the Sale Hearing or on the agenda for such Sale Hearing. Objections, if
                                                                  any,to the relief requested in the Motion relating to the Sale (each,a“Sale Objection”) must:(a) be in writing
ond base and DHing on a team                                      and specify the nature of such objection,(b) comply with the Bankruptcy Rules and the Local Rules,(c) be ﬁled
                                                                  with the Court no later than 4:00 p.m.(prevailing Eastern Time) on May 18, 2022 (the“Sale Objection
that went 15-7 going into Sun-                                    Deadline”),and(d)beservedontheObjectionNoticePartiesbytheSaleObjectionDeadline.
                                                                       PLEASE TAKE FURTHER NOTICE THAT ANY PARTY WHO FAILS TO MAKE A TIMELY SALE OBJECTION
day and sits in first place in                                    ON OR BEFORE THE SALE OBJECTION DEADLINE OR POST-AUCTION OBJECTION DEADLINE, AS
                                                                  APPLICABLE,IN ACCORDANCE WITH THE BID PROCEDURES ORDER SHALL BE FOREVER BARRED FROM
the National League East.                                         ASSERTING ANY SALE OBJECTION, INCLUDING WITH RESPECT TO THE TRANSFER OF THE ASSETS FREE
   “It’s so great to be back                                      ANDCLEAROFALLLIENS,CLAIMS,ENCUMBRANCESANDOTHERINTERESTS.
                                                                       PLEASETAKE FURTHER NOTICE that the Debtors are seeking to waive the fourteen-day stay period under
here again, playing the game                                      Bankruptcy Rules 6004(h) and 6006(d) in order for the Sale to close immediately upon entry of the Sale Order
                                                                  bythisCourt.
that I love, I’m so happy,” Cano                                       PLEASE TAKE FURTHER NOTICE that this notice is subject to the full terms and conditions of the Bid
                                                                  Procedures and Sale Motion,the Bid Procedures Order and the Bid Procedures,which shall control in the event
says. “I missed everything                                        of any conﬂict,and the Debtors encourage parties in interest to review such documents in their entirety. A copy
                                                                  of the Bid Procedures and Sale Motion,the Bid Procedures and the Bid Procedures Order may be obtained for
about the game last year, the                                     free by accessing the website of the Debtors’ noticing agent, Kroll Restructuring Administration LLC (f/k/a
                                                                  PrimeClerkLLC),locatedat https://cases.ra.kroll.com/MDHelicopters/.
guys, the fans, sunflower                                         Dated: April27,2022,Wilmington,Delaware              RespectfullySubmitted,
seeds, everything. Now, it’s all                                   /s/EvelynJ.Meltzer
                                                                  TROUTMANPEPPERHAMILTONSANDERSLLP                                   LATHAM&WATKINSLLP
about just having fun.”                                           DavidB.Stratton(DENo.960)                                          SuzzanneUhland(admittedprohacvice)
                                                                  DavidM.Fournier(DENo.2812)                                         AdamS.Ravin(admittedprohacvice)
   The Mets still owe Cano                                        EvelynJ.Meltzer(DENo.4581)                              -and-      BrettM.Neve(admittedprohacvice)
                                                                  KennethA.Listwak(DENo.6300)                                        Tianjiao(TJ)Li(admittedprohacvice)
about $40.5 million through                                       HerculesPlaza,Suite5100                                            AlexandraM.Zablocki(admittedprohacvice)
the 2023 season, and they’re                                      1313N.MarketStreet
                                                                  Wilmington,DE19801
                                                                                                                                     1271AvenueoftheAmericas
                                                                                                                                     NewYork,NY10020
watching his struggles like ev-                                   1
                                                                                                      CounselforDebtorsandDebtors-in-Possession
                                                                       ThetwoDebtorsinthesecasesareMDHelicopters,Inc.andMonterreyAerospace,LLC,andtheiraddressis4555
eryone else. He entered Sun-                                      E.McDowell Road,Mesa,AZ 85215. The last four digits of MD Helicopters,Inc.’s taxpayer identiﬁcation number are
day hitting .195 with one ex-                                     4088.MonterreyAerospace,LLChasnotbeenassignedataxpayeridentiﬁcationnumberasofthedatehereof.
                                                                  2
                                                                       Capitalized terms not otherwise deﬁnedhereinshall have the meaningsset forth in the Bid Procedures and
tra-base hit and a .501 OPS.                                      SaleMotion.

   They want to be patient,
knowing he missed an entire
season, but for how long?
   “It would mean everything
to me to be here and win a
World Series,” Cano said. “I
mean, that’s what this is all
                                                                Visit USA TODAY’s web site at
about. ... Hopefully, I’m keep-
ing my fingers crossed, I can
be part of this. We’ll see what
                                                                         www.usatoday.com
happens.”
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                      Exhibit B
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